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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF DELAWARE

   CORNELL UNIVERSITY, CORNELL RESEARCH                  )
   FOUNDATION, INC., LIFE TECHNOLOGIES                   )
   CORPORATION, and APPLIED BIOSYSTEMS, LLC,             )
                                                         ) C.A. No. 10-433-LPS-MPT
                    Plaintiffs,                          )
                                                         ) REDACTED PUBLIC VERSION
            v.                                           )
                                                         )
   ILLUMINA, INC.,                                       )
                                                         )
                    Defendant.                           )
                                                         )

           DEFENDANT ILLUMINA, INC.’S MEMORANDUM IN RESPONSE TO
        LIFE TECHNOLOGIES CORPORATION AND APPLIED BIOSYSTEMS LLC’S
          CROSS-MOTION TO DISMISS OR STAY CORNELL’S MOTION AND TO
                    COMPEL MEDIATION OR ARBITRATION


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    Dated: August 31, 2017


   {01240427;v1 }
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   {01240427;v1 }                                                          i
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   {01240427;v1 }                                                       ii
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                       INTRODUCTION AND SUMMARY OF ARGUMENT

            Defendant (“Illumina”) takes no position on the cross-motion of Life Technologies

   Corporation and Applied Biosystems, LLC (jointly, “Life Tech”) (D.I. 625), to the extent that it

   seeks mediation or arbitration to resolve the dispute between Life Tech and the two Cornell

   plaintiffs (jointly, “Cornell”) over




            However, Illumina opposes Life Tech’s cross-motion to the extent that it seeks to compel

   Illumina to arbitrate or have its own rights determined in arbitration.

                                          Arbitration may not be compelled unless there is a valid

   agreement to arbitrate between the parties and the dispute falls within the scope of that

   agreement. Century Indem. Co. v. Certain Underwriters at Lloyd's, London, 584 F.3d 513, 523

   (3d Cir. 2009).




   {01240427;v1 }                                   1
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            The Court, not an arbitrator, should rule on Cornell’s Rule 60 motion for relief from the

   Court’s judgment of dismissal,




   {01240427;v1 }                                    2
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                                   .

       NATURE AND STAGE OF THE PROCEEDINGS AND STATEMENT OF FACTS

            This case terminated on April 24, 2017, after nearly seven years of litigation, when the

   Court signed the parties’ joint stipulation to dismiss all claims pursuant to

                                                                     The dismissed claims comprised

   assertions by Cornell and Life Tech that Illumina infringed 15 patents from two patent families

   that Cornell had licensed exclusively to Life Tech.

            Two months later, on June 21, 2017, Cornell moved to vacate the stipulated dismissal

   pursuant to Fed. R. Civ. P. 60(b)(6)




   {01240427;v1 }                                    3
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            On August 1, 2017, Life Tech and Illumina separately opposed Cornell’s Rule 60 motion,

   arguing that it should be denied on the merits. D.I. 621; 629. Life Tech also filed a cross-motion

   seeking to compel mediation or arbitration of the Cornell-Life Tech dispute raised in Cornell’s

   Rule 60 motion. D.I. 626. This is Illumina’s response to that cross-motion.




   {01240427;v1 }                                   4
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                                              ARGUMENT

   I.       THE DISPUTE HERE IS ONLY BETWEEN CORNELL AND LIFE TECH, AND
            DOES NOT TRIGGER THE ARBITRATION CLAUSE IN




                                                                       . Because “arbitration is a

   matter of contract[,] a party cannot be required to submit to arbitration any dispute which he has

   not agreed so to submit.” AT & T Techs., Inc. v. Commc’ns Workers, 475 U.S. 643, 648 (1986)

   (internal quotations omitted). “Before compelling a party to arbitrate pursuant to the FAA, a

   court must determine that (1) there is an agreement to arbitrate and (2) the dispute at issue falls

   within the scope of that agreement.” Century Indem. Co., 584 F.3d at 523. “Where the arbitration


   {01240427;v1 }                                    5
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   provision is narrowly crafted, ‘we cannot presume, as we might if it were drafted broadly, that

   the parties here agreed to submit all disputes to arbitration[.]’” Local 827, Int’l Bhd.. of Elec.

   Workers, AFL-CIO v. Verizon New Jersey, Inc., 458 F.3d 305, 310 (3d Cir. 2006) (quoting Trap

   Rock Indus. v. Local 825, Int'l Union of Operating Eng'rs, 982 F.2d 884, 888 n.5 (3d Cir. 1992)).




                                        .




   1




   {01240427;v1 }                                    6
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   II.      THE
            ARE VALID AND BEYOND THE SCOPE OF THE ARBITRATION CLAUSE IN
                    .




   {01240427;v1 }                        7
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                                                         .

            A.      Life Tech Acted Within Its Actual And Apparent Authority In Making
                                                                   With Illumina.




            Under Delaware law,2 contracts made by an agent with apparent authority are valid with

   respect to a third party even if they may have been fraudulent with respect to the principal.

   Liberty Mut. Ins. Co. v. Enjay Chem. Co., 316 A.2d 219, 223 (Del. 1974) (principal liable for

   loss where agent fraudulently converted payments made to agent by innocent third party who

   reasonably believed agent was acting on behalf of the principal); Dweck v. Nasser, 959 A.2d 29,


   2




   {01240427;v1 }                                   8
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   38–44 (Del. Ch. 2008) (client bound by settlement with third party negotiated by attorney with

   apparent or actual authority), vacated on other grounds, 966 A.2d 348 (Del. Super. Ct. 2009);

   accord Azur v. Chase Bank, USA, Nat’l Ass’n, 601 F.3d 212, 218–22 (3d Cir. 2010) (under

   Pennsylvania law, employer bound to credit card charges allegedly fraudulently made by

   employee).




                                                                                         See Crumlish v.

   Price, 266 A.2d 182, 183–84 (Del. 1970) (“A principal is bound by an agent’s apparent authority

   which he knowingly permits the agent to assume of which he holds the agent out as

   possessing.”); Rest. 3d Agency, §2.03 (2006) (“Apparent authority is the power held by an agent

   or other actor to affect a principal’s legal relations with third parties when a third party

   reasonably believes the actor has authority to act on behalf of the principal and that belief is

   traceable to the principal’s manifestations.”).




   {01240427;v1 }                                     9
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            B.      Cornell’s And Life Tech’s Agreement




                                                                  It is well established that arbitration

   is “a way to resolve those disputes—but only those disputes—that the parties have agreed to

   submit to arbitration.” First Options Chicago, Inc. v. Kaplan, 514 U.S. 938, 943 (1995)

   (emphases added). “Arbitration is strictly a matter of contract. If a party has not agreed to

   arbitrate, the courts have no authority to mandate that he do so.” Bel-Ray Co. v. Chemsite (Pty)

   Ltd., 181 F.3d 435, 444 (3d Cir. 1999).




                                                                                         . See, e.g.,

   AGCO Corp. v. Anglin, 216 F.3d 589, 593 (7th Cir. 2000) (vacating award that considered

   contracts entered into by separate parties and that were not encompassed by the arbitration

   agreement at issue).


   {01240427;v1 }                                   10
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                                             CONCLUSION

            For the foregoing reasons, and those stated in its opposition to Cornell’s Rule 60 motion

   (D.I. 629), Illumina respectfully requests that the Court deny Cornell’s Rule 60 motion to vacate

   the stipulated judgment of dismissal in this case and find the releases and sublicenses granted to

   Illumina in the Settlement Agreement and the Sublicense Agreement to be valid as a matter of

   law. To the extent the Court grants Life Tech’s cross-motion for arbitration over the extant

   dispute between Cornell and Life Tech, the order should make clear that the arbitrator is not

   empowered to disturb Illumina’s rights under those agreements.

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   {01240427;v1 }                                   11
